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United States Bankruptcy Court
District of Colorado

_ Voluntary Petition . :

 

 

Name of Debtor (if individual, enter Last, First, Middle):
Tschetter, David, P.

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

o/d/s Tschetco Co., Inc.

member Tschetco Residential LLC
member Tschetco Holdings LLC
member Buena Vista LLC

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more

 

Littleton, CO

ZIP CODE 80127

than one, state all): XXX-XX-5987 than one, state all):
Street Address of Debtor (No. & Street, City, and State): Street Address of Joint Debtor (No. & Street, City, and State):
9 White Fir Court

ZIP CODE

 

County of Residence or of the Principal Place of Business:
Jefferson

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address):

 

Mailing Address of Joint Debtor (if different from street address):

| ZIP CODE

 

 

 

 

 

 

 

ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
ZIP CODE
Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box) the Petition is Filed (Check one box)
(Check one box.) O Health Care Busi
ealth Ware DusIness ; WW Chapter 7 ( Chapter 15 Petition for
WJ __Individual (includes Joint Debtors) CL] Single Asset Real Estate as defined in Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. II U.S.C. § 101G1B) Main Proceeding
“on (7 i Chapter 11]
(.} = Corporation (includes LLC and LLP) O) Railroad Q apter (] Chapter 15 Petition for
{) ‘Partnership L) Stockbroker C1 Chapter 12 Recognition of a Foreign
(] Other (If debtor is not one of the above entities, C] Commodity Broker OQ Chapter 13 Nonmain Proceeding
check this box and state type of entity below.) L) Clearing Bank E
Q Other Nature of Debts
(Check one box)
Tax-Exempt Entity () _ Debts are primarily consumer WW Debts are primarily
(Check box, if applicable) debts, defined in 11 U.S.C. business debts.
: was § 101(8) as “incurred by an
(Q «Debtor is a tax-exempt organization individual primarily for a
under Title 26 of the United States personal, family, or house-
Code (the Internal Revenue Code.) hold purpose.” ,

 

 

Filing Fee (Check one box)
WW Full Filing Fee attached
L] Filing Fee to be paid in installments (applicable to individuals only). Must attach

signed application for the court's consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.

() Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court's consideration. See Official Form 3B.

Chapter 11 Debtors
Check one box:

() Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
() Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Check if:
() Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on

Check all applicable boxes

U) A plan is being filed with this petition

(J Acceptances of the plan were solicited prepetition from one or more classes
of creditors, in accordance with 11 U.S.C. § 1126(b).

 

 

 

 

 

 

Statistical/Administrative Information THIS SPACE IS FOR
(2) Debtor estimates that funds will be available for distribution to unsecured creditors. COURT USE ONLY
bf Debtor estimates that, after any exempt property is excluded and administrative
expenses paid, there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
Q QO QO Oo OQ QO

1- 50- 100- 200- 1,000- 5,001- 10,001- 25,001- —50,001- Over
49 99 199 999 5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
Qa O wf Q Q OQ a QO OQ
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 $1 to $10 to $50 to $100 to $500 to$1 billion — $1 billion

million million million million million
Estimated Liabilities

Q QO O Q Ww OQ Q a QO

$0 to $50,001 to $100,001 to $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 $1 to $10 to $50 to $100 to $500 aed “Ws

million million million million million to $1 billion $1 billion

 

 

 
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Voluntary Petition — Name of Debtor(s):
(This page must be completed and filed in every case) David P. Tschetter

 

 

 

All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)

 

 

 

 

 

 

 

Location Case Number: Date Filed:
Where Filed: NONE
Location Case Number: Date Filed:
Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
NONE
District: Relationship: Judge:

Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (e.g., forms 10K and (To be completed if debtor is an individual
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) whose debts are primarily consumer debts)

of the Securities Exchange Act of 1934 and is requesting relief under chapter | 1.) I, the attorney for the petitioner named in the foregoing petition, declare that I
have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter. I further certify that I have delivered to the
debtor the notice required by 11 U.S.C. § 342(b).

Q) Exhibit A is attached and made a part of this petition. X Not Applicable
Signature of Attorney for Debtor(s) Date

 

 

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
{) ‘Yes, and Exhibit C is attached and made a part of this petition.

wf No

 

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
Q) Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

Q) Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box)

wi Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

O There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.

Q Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
this District, or the interests of the parties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

Q Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

Q Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
filing of the petition.

Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 

 

 
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Voluntary Petition Name of Debtor(s):
(This page must be completed and filed in every case) David P. Tschetter
Signatures
Signature(s) of Debtor(s) (Individual/Joint) Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true | J declare under penalty of perjury that the information provided in this petition is true
and correct. and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such (Check only one box.)
chapter, and choose to proceed under chapter 7. (] =I request relief in accordance with chapter 15 of Title 11, United States Code.

[If no attorney represents me and no bankruptcy petition preparer signs the petition] I

Certified Copies of the d t ired by § 1515 of title 1] ttached.
have obtained and read the notice required by 11 U.S.C. § 342(b). ortitled’ Copies of ime cocuments required’ OY 8 OF Te 1S are angen

() ~ Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the

 

 

I request relief in accordance with the chapter of title 11, United States Code, specified Chapter of title 11 specified in the petition. A certified copy of the
in this petjti order granting recognition of the foreign main proceeding is attached.
ney Lex
x Conf, / (ates X Not Applicable
Signature of Debtor David P. Tschetter (Signature of Foreign Representative)

X Not Applicable
Signature of Joint Debtor (Printed Name of Foreign Representative)

 

 

Telephone Number (If not represented by attorney)

 

Date

 

Date

 

 
 

EAttorney Signature of Non-Attorney Petition Preparer

 

I declare under penalty of perjury that: (1) Iam a bankruptcy petition preparer as defined

Signature of Attorney for Debtor(s) in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided

 

tami the debtor with a copy of this document and the notices and information required under
Benjamin H. Shloss Bar No. 39276 11 U.S.C. $§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
Printed Name of Attorney for Debtor(s) / Bar No. promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the
Kutner Miller Brinen, P.C. maximum amount before preparing any document for filing for a debtor or accepting any

 

7 fee from the debtor, as required in that section. Official Form 19 is attached.
Firm Name

303 East 17th Avenue Suite 500

 

 

 

 

 

 

 

Address Not Applicable
Denver, CO 80203 Printed Name and ttle, if any, of Bankruptcy Petition Preparer
~ 303) 832-1510
303) 832 ant Numb (303) 832 Social-Security number (If the bankruptcy petition preparer is not an individual,
Telephone and Fax Number state the Social-Security number of the officer, principal, responsible person or
| J Ent - bhs@kutnerlaw.com partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
a. €
Date and E-Mail Address
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a Address

certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.

 

 

X Not Applicable

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the Date
debtor.

 

Signature of bankruptcy petition preparer or officer, principal, responsible person, or

The debtor requests the relief in accordance with the chapter of title 11, United States partner whose Social-Security number is provided above.

Code, specified in this petition. Names and Social-Security numbers of all other individuals who prepared or
. assisted in preparing this document unless the bankruptcy petition preparer is not an
x Not Applicable individual.

 

Signature of Authorized Individual If more than one person prepared this document, attach to the appropriate official

form for each person.

 

Printed Name of Authorized Individual A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

Title of Authorized Individual

 

Date

 

 

 

 
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UNITED STATES BANKRUPTCY COURT
District of Colorado

IN RE CASE NO.

David P. Tschetter
CHAPTER 7

DEBTOR(S)

VERIFICATION OF CREDITOR MATRIX

The above named Debtor(s) hereby verifies that the attached matrix list of creditors is true and correct to the best
of our knowledge.

Date: te Thee

David P. Tschetter

 

Debtor
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Advanta
PO Box 79217
Old Bethpage, NY 11804-9217

Advantage Bank
4532 McMurry Ave, #100
Ft. Collins, CO 80525-8022

Allen & Vellone
1600 Stout Street, Suite 1100
Denver, CO 80202

American Express
PO Box 650448
Dallas, TX 75265

Anita Anderson
3013 East Ironside Lane
Gilbert, AZ 85298

Bank of America
PO Box 15710
Wilmington, DE 19886-5710

Beld Developments LLC
6215 Westchase Road
Ft. Collins, CO 80528

Bellco Credit Union
PO Box 6611
Greenwood Village, CO 80155-6611

Buena Vista Development, LLC
PO Box 273000
Ft Collins, CO 80527
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Capital One
P.O. Box 60599
City of Industry, CA 91716-0599

Christine W. Ludban
10270 Great Wood Pointe
Highlands Ranch, CO 80126

Citi Card
Box 6500
Sioux Falls, SD 57117

Citi Mortgage Inc.
PO Box 689196
Des Moines, IA 50368-9196

Colorado Community Bank
3 S Timber Ridge Pkwy
Severance, CO 80550

Colorado Department of Revenue
1375 Sherman Street
Denver, CO 80261

Colorado East Bank
725 US Hwy 24
Buena Vista, CO 81211

Farmers Bank
119 lst Street
Ault, CO 80610

Discount Tire

c/o GE Capital Retail Bank
PO Box 103106

Roswell, GA 30076
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Farmers Bank
119 lst Street
Ault, CO 80610

First National Bank of Ft. Collins
205 W Oak Street
Ft. Collins, CO 80521

First National Bank of Ft. Collins
205 W. Oak Street
Ft. Collins, CO 80521

Greenwald Tschetco, LLC
1204 West Ash Street, Suite C
Windsor, CO 80550

Guaranty Bank & Trust
4650 Royal Vista Circle
Windsor, CO 80528

Hidden Pond, LLC
PO Box 273000
Ft Collins, CO 80527

ING Direct
PO Box 60
St. Cloud, MN 56302-0060

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Internal Revenue Service
Insolvency Unit

1999 Broadway

MS 5012 DEN

Denver, CO 80202-3025
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Jim Jensen

Jim Jenson

John Barry, Esq.

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822 7th Street, Suite 760

Greeley, CO 80631

John O'Brien, Esq.

Holly Shilliday, Esq.

Snell & Wilmer

1200 17th Street, Suite 1900
Denver, CO 80202

John Vasquez
106 Rock Bridge Court
Windsor, CO 80550

John Vazquez
106 Rock Bridge Ct.
Windsor, CO 80550

Jonathan P. Tschetter
4109 Cedargate Court
Ft Collins, CO 80526

Kelly Green, LLC
5822 Sedovia Road
Ft. Collins, CO 80524

Kenneth A. and Anita J. Anderson
3N775 Baeret Lane
St. Charles, IL 60175
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Kenneth Anderson
3013 East Ironside Lane
Gilbert, AZ 85298

L. Mark Van Cleave
9909 Gladioulous Preserve Circle
Ft. Meyers, FL 33908

L. Mark Van Cleave and
M. Leslie Van Cleave
11100 West Dumbarton Way
Littleton, 80127

Larimer Bank of Commerce
1432 E Mulberry Street, #B
Ft. Collins, CO 80524

Leslie M. Van Cleave
9909 Gladioulous Preserve Circle
Ft. Meyers, FL 33908

Mark N. Tschetter
6481 South Zeno Court
Aurora, CO 80016

Matthew Harris
74 Deerwood Drive
Littleton, CO 80127

Matthew S. Harris
75 Deerwood Drive
Littleton, CO 80127

Millennium Bank
77699 US Hwy 40
Fraser, CO 80442
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Nelnet, Inc.
121 South 13th Street, Suite 201
Lincoln, NE 68508

New West
3459 W 20th Street, Suite 114
Greeley, CO 80634

Office of the Attorney General
US Department of Justice

950 Pennsylvania Avenue, NW
Suite 4400

Washington, DC 20530-0001

Office of the Attorney General
State of Colorado

1525 Sherman Street

7th Floor

Denver, CO 80203

Office of the US Attorney
District of Colorado

1225 Seventeenth Street
Suite 700

Denver, CO 80202-5598

Paul N. Tschetter
9501 E Orchard Drive
Englewood, CO 80110

PineCrest Development LLC
4225 Westshore Way
Ft. Collins, CO 80525

Raptor Development, LLC
PO Box 273000
Ft Collins, CO 80527

RFJ, LLC
1204 West Ash Street, Suite I
Windsor, CO 80550
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RFU, LLC
1204 West Ash Street, Suite I
Windsor, CO 80550

Richard D. Beller, Esq.
Ringenberg, Funk & Beller, P.C.
215 West Oak St., 10th Fl.

Ft. Collins, CO 80521

Robert W. Brandes, Jr., Esq.
Myatt Brandes & Gast, PC
323 S College Ave, Suite 1
Ft. Collins, CO 80524-2845

Rock Soblick
1196 Opal St., Unit 102
Broomfield, CO 80020

Rock Sobolik
1196 Opal Street, Unit 102
Broomfield, CO 80020

SilverStar Owner's Association, Inc.
PO Box 4002
Granby, CO 80446-0400

Silver Star Tschet Co., LLC
PO Box 273000
Ft Collins, CO 80527

State of Colorado
Division of Securities
1560 Broadway

Suite 900

Denver, CO 80202-5150

Sum Progress, LLC

c/o Joe Schneckenburger
Business Futures, Inc.
PO Box 650

Golden, CO 80402-0650
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Greenwald Tschetco, LLC
PO Box 273000
Ft Collins, CO 80527

Tschet Co. Residential, LLC
PO Box 273000
Ft Collins, CO 80527

Tschet Co., Inc.
PO Box 273000
Ft Collins, CO 80527

Tschet Co., Inc.
PO Box 273000
Ft Collins, CO 80527

Tscht Co., Inc.
PO Box 273000
Ft. Collins, CO 80527

United Mileage Plus
Cardmember Service

PO Box 94014

Palatine, IL 60094-4014

University of Wyoming Credit Union
1610 E Reynolds Street
Laramie, WY 82072

Victor Sulzer
2821 S Parker Road, Suite 228
Aurora, CO 80014

Village East, LLC
PO Box 273000
Ft Collins, CO 80527
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Wells Fargo Bank
PO Box 5247
Denver, CO 80274
